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Joseph Orlando Jr

From: kgillis@subrogationattorney.com

Sent: Tuesday, July 7, 2020 3:20 PM

To: Joseph Orlando Jr

Cc: Amanda Kesterson

Subject: RE: Palmer v. F/V Foxy Lady et al - Release
Mr. Orlando,

Based on your email today, it is my understanding that one of your clients, Mr. Palmer, in your words,
“has elected not to go forward with the appeal.” You sent a release that you drafted that purports to
follow Judge Saris’s 6/19 Order and requested payment of the settlement funds. However, | am not
satisfied with the release you drafted, so | will be sending a different one to you for your client to

sign. It was ready to go on the morning of 6/23 when | received notice of your appeal, so it too was
drafted with the judge’s decision in mind, but now needs to incorporate present

circumstances. Those circumstances include the appeal, and the fact that although Mr. Palmer filed
a 93A/176D action as Plaintiff, he fails to address that litigation in the release he signed. | would
suggest that you file a Notice of Voluntary Dismissal with Prejudice of the 93A/176D case on behalf of
Mr. Palmer, and also a Notice of Amended Appeal in federal court to account for his withdrawal from
that matter. We will gladly move forward toward resolution when those issues are addressed.

Regards,

Kevin F. Gillis, Esq.

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From: Joseph Orlando Jr <jmorlandojr@orlandoassociates.com>
Sent: Tuesday, July 7, 2020 11:45 AM

To: kgillis@subrogationattorney.com

Cc: Amanda Kesterson <akesterson@orlandoassociates.com>
Subject: Palmer v. F/V Foxy Lady et al - Release

Mr. Gillis:

Mr. Palmer has elected not to go forward with the appeal. Per the Court’s order, please find a release executed by Mr.
Palmer attached. Once received, please have your client execute it and send the fully executed release back with the
$10,000 check made payable to “Richard Palmer and Orlando & Associates as his attorneys.” Thank you for your prompt

attention to this matter.

Regards,
